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                                           IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                                     ALEXANDRIA DIVISION
                      In re:
                      WALLACE C LYON, III,                                       CHAPTER 7
                      DEBTOR.                                                    CASE NO. 19-11935-KHK
                                                        NOTICE OF APPEARANCE

                               The undersigned hereby appears in these Chapter 7 Bankruptcy Proceedings as Counsel
                      for Pingora Loan Servicing, LLC, and requests that Samuel I. White, P.C. be placed upon the
                      mailing list of those Creditors, parties in interest and Counsel who receive all Notices in these
                      proceedings.
                                                                       Respectfully submitted,

                                                                       SAMUEL I. WHITE, P.C.


                                                                       By: /s/ BRANDON R. JORDAN
                                                                       Eric D. White, Esquire, Bar No. 21346
                                                                       Michael T. Freeman, Esquire, Bar No. 65460
                                                                       Brandon R. Jordan, Esquire, Bar No. 72170
                                                                       Johnie R. Muncy, Esquire, Bar No. 73248
                                                                       Nisha R. Patel, Esquire, Bar No. 83302
                                                                       Samuel I. White, P.C.
                                                                       1804 Staples Mill Road
                                                                       Suite 200
                                                                       Richmond, VA 23230
                                                                       Tel.: (804) 290-4290
                                                                       Fax: (804) 290-4298
                                                                       bjordan@siwpc.com

                                                         CERTIFICATE OF SERVICE

                               I certify that on June 18, 2019, the foregoing Notice was served via CM/ECF on Donald F.
                      King, Trustee, and Jeffrey T. Martin, Jr., Counsel for Debtor, at the email addresses registered with
                      the Court, and that a true copy was mailed via first class mail, postage prepaid, to Wallace C Lyon,
                      III, Debtor, 5900 Boston Drive, Falls Church, VA 22041.

                                                                       /s/ BRANDON R. JORDAN
                                                                       Brandon R. Jordan, Esquire
                                                                       Samuel I. White, P. C.




File No. 66807
